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FUTURE MOTION, INC.


                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION

FUTURE MOTION, INC.,                                    Case No. 3:23-cv-01742-AR

                Plaintiff,
                                                        PLAINTIFF’S MOTION FOR
        v.                                              CONTEMPT AND SANCTIONS
                                                        AGAINST NONPARTY GOOGLE LLC,
TONY LAI, an individual doing business as               D/B/A YOUTUBE, OR
FLOATWHEEL,                                             ALTERNATIVELY FOR AN ORDER TO
                                                        SHOW CAUSE
                Defendant.



                                          LR 7-1 Certification

        Plaintiff Future Motion, Inc. (“Future Motion”) hereby certifies that counsel for Future

Motion sent five letters and several additional electronic messages relating to the subject matter of

this motion to Google LLC, d/b/a YouTube (“YouTube”). This includes a letter dated October 2,

2024 to YouTube’s registered agent in Oregon via FedEx, informing YouTube that Future Motion

would file the present motion in the absence of YouTube’s corrective action by October 9, 2024,

and inviting a phone conference to discuss the matter. YouTube did not respond to the October 2,

2024 letter, and has not taken any discernable corrective action.

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                                                MOTION

        Pursuant to the Court’s inherent powers, and based on willful violations of the Court’s

specific and definite injunctive orders, Future Motion hereby moves the Court for a finding of

contempt against nonparty YouTube, and conditional, coercive sanctions of $10,000 per day for

each day YouTube fails to comply with the Court’s orders following the resolution of this Motion.

Alternatively, Future Motion requests that the Court issue an order for YouTube to show cause as

to why it should not be held in contempt and be subject to coercive sanctions for violating the

Court’s orders.

                      MEMORANDUM OF POINTS AND AUTHORITIES

I.      INTRODUCTION AND PROCEDURAL HISTORY

        Future Motion filed its Complaint in this action on November 27, 2023 alleging direct

infringement of four United States patents through Defendant’s manufacture, importation and/or

sale of its Floatwheel self-balancing electric skateboards, and inducing infringement of the same

patents by publishing instructional videos and other infringing material, particularly on YouTube.

ECF No. 1. On December 7, 2023, Future Motion filed a motion for leave to serve Defendant by

email, which the Court granted. ECF Nos. 6, 7. Future Motion served Defendant with the summons

and Complaint in this action via email on December 7, 2023. ECF No. 8-1, ¶5.

        A.        The Court’s Orders Directed to YouTube

        On December 14, 2023, Future Motion moved the Court for a temporary restraining order

and a preliminary injunction, seeking to shut down Defendant’s e-commerce website that offered

the infringing Floatwheel products at www.floatwheel.com, and to take down Defendant’s

YouTube videos inducing infringement at www.youtube.com/floatwheel. ECF No. 8. On

December 15, 2023, the Court granted a temporary restraining order (the “TRO”) and set a



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preliminary injunction hearing for December 28, 2023. ECF No. 9. With respect to YouTube, the

TRO states in relevant part:

         Google LLC, doing business as YouTube, must promptly upon receipt of a copy of
         this Order disable public access to all instructional videos teaching viewers how to
         make and/or use a product that infringes Future Motion’s patents, including but not
         limited to the following videos currently hosted at the YouTube channel
         https://www.youtube.com/floatwheel and listed in Exhibit I to Future Motion's
         Complaint in this action:

ECF No. 9, p. 7. The TRO includes a listing of 43 YouTube videos that were inducing infringement

at the time Future Motion filed its motion for a temporary restraining order, with specific titles and

URLs. Id., pp. 7-10.

         The Court conducted a preliminary injunction hearing on December 28, 2023 without an

appearance by Defendant,1 and granted a preliminary injunction on December 29, 2023. ECF Nos.

12-14 (the “First Preliminary Injunction Order”). The First Preliminary Injunction Order states in

relevant part:

         Any video platform provider, including but not limited to Google LLC doing
         business as YouTube, must promptly upon receipt of a copy of this Order either
         disable public access to (i) the entire Floatwheel YouTube channel at
         https://www.youtube.com/floatwheel or (ii) to all individual videos teaching
         viewers how to make and/or use a product that infringes Future Motion’s patents,
         including but not limited to the following 48 videos currently hosted at the
         YouTube channel https://www.youtube.com/floatwheel:

ECF No. 14, p. 8. The order lists the 48 videos referenced in the above language, with specific

titles and URLs. Id., pp. 9-12. Relative to the language of the TRO, the First Preliminary Injunction

Order requires YouTube either to disable the entire Floatwheel channel or to disable all of

Defendant’s infringing videos without limitation. Future Motion requested an order including the



1
    Defendant has never appeared in this action, and the Court entered default against Defendant on

April 30, 2024. ECF No. 20.


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option for YouTube to disable the entire channel in response to Defendant’s publication of at least

five additional videos to its YouTube channel after Future Motion filed its motion for a TRO,

coupled with the fact that YouTube had failed to take any discernable action in response to

receiving notice of the TRO. Declaration of Shawn J. Kolitch in Support of Plaintiff’s Motion for

Contempt and Sanctions Against Nonparty Google LLC, d/b/a YouTube (“Kolitch Decl.”), ¶ 2.

        Defendant subsequently took various steps to circumvent the First Preliminary Injunction

Order, such as moving its e-commerce operations to a Russia-based website at

www.floatwheels.ru, switching from Shopify to a different electronic shopping software platform,

and adopting a series of different customer service email addresses. Defendant also continued to

post new videos and additional infringing content on its YouTube channel, and introduced new

infringing products. ECF Nos. 26-1–26-6. In an attempt to counteract these measures, Future

Motion moved the Court for a second preliminary injunction, which the Court granted on June 20,

2024. ECF No. 27 (the “Second Preliminary Injunction Order”). The Second Preliminary

Injunction Order states in relevant part:

        Google LLC, doing business as YouTube, shall promptly upon receipt of a copy of
        this Order remove or disable Defendant’s entire “Floatwheel” YouTube channel at
        www.youtube.com/floatwheel, along with any other YouTube channel Defendant
        operates now or in the future that publishes videos and/or information about the
        Floatwheel Adv and/or Floatwheel Adv Pro products

ECF No. 27, p. 6. Relative to the First Preliminary Injunction Order, the Second Preliminary

Injunction Order removed YouTube’s option of simply disabling access to specific Floatwheel

videos (which were therefore not enumerated in the order), and instead requires YouTube to

“remove or disable Defendant’s entire ‘Floatwheel’ YouTube channel.” As Future Motion

explained in its motion for a second preliminary injunction, this is because Floatwheel continued

to publish additional videos inducing infringement to its YouTube channel, and also because

Defendant was using its YouTube channel to provide communications and information to

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customers about how to obtain, assemble, and operate the infringing Floatwheel products. ECF

No. 26, p. 3.

        B.      Future Motion’s Notices to YouTube

        Immediately after the Court issued the TRO, Future Motion sent a notice letter to YouTube

requesting that it take appropriate action as the Court had ordered. Over the next nine months,

Future Motion sent four additional notice letters to YouTube with copies of the Court’s various

injunctive orders and requests for YouTube to comply with the orders. Future Motion also sent

several related electronic communications through the YouTube legal support portal.

        Specifically, Future Motion sent a notice message with a copy of the TRO through

YouTube’s electronic legal support portal on December 17, 2023; sent a notice letter with a copy

of the TRO to YouTube at its corporate headquarters via FedEx on December 18, 2023; sent both

an electronic notice through YouTube’s electronic legal support portal and a notice letter with a

copy of the First Preliminary Injunction Order to YouTube’s registered agent via FedEx on January

2, 2024; and sent three separate notice letters with copies of the Second Preliminary Injunction

Order to YouTube’s registered agent via FedEx on June 20, 2024, July 30, 2024, and October 2,

2024. Each time, Future Motion pointed out how the respective order pertains to YouTube, and

requested that YouTube comply with the order. Kolitch Decl., ¶ 3, Ex. A.

        C.      YouTube’s Inadequate Actions and Responses

        YouTube has never responded to any of Future Motion’s five letters. In its responses to

Future Motion’s electronic notices, YouTube has alternated between claiming compliance with

the Court’s orders and refusing to take more effective action. For example, in messages from the

YouTube Legal Support Team regarding the TRO, YouTube stated that it had “restricted the

content in question” and that the content was “blocked from view on the country domain.” Id., pp.



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6-8. As discussed below, however, these actions were limited to a subset of the enjoined

Floatwheel content on YouTube, and do not effectively prevent access to the content by U.S.

consumers even for that limited content. In response to Future Motion’s follow-up messages

asking YouTube to take further steps to comply with the Court’s orders, YouTube has refused to

do so, stating, for example, that the Court’s orders are “too vague, temporally limited, and/or do[]

not specifically apply to content that is hosted on YouTube.com,” and that YouTube “may be

prepared to comply with any permanent order that requires the content creator to remove specific

YouTube URLs.” Id., pp. 10-11. (emphasis in original).

        Accordingly, despite the unambiguous language of the Court’s injunctive orders, YouTube

has never effectively blocked access to any of Floatwheel’s enjoined content, and has refused to

remove or disable the entire Floatwheel YouTube channel as the Second Preliminary Injunction

Order explicitly requires. Rather, YouTube has made only token and ineffective efforts to block

access to the Floatwheel channel from U.S.-based Internet Protocol (“IP”) addresses. As a result,

U.S. consumers using a virtual private network (“VPN”), which can be accomplished using a

myriad of free or inexpensive options, can still easily access the entire Floatwheel YouTube

channel. This includes the 43 videos listed and enjoined in the TRO, the later published five videos

listed and enjoined in the First Preliminary Injunction Order, approximately 15 additional

Floatwheel videos that induce infringement of Future Motion’s asserted patents, and the entire

Floatwheel YouTube “Community” page that includes information about Floatwheel and its

products, all of which facilitates Defendant’s continuing acts of patent infringement. Kolitch Decl.,

¶ 4, Ex. B.

        Even more egregiously, YouTube has not even disabled access to Defendant’s recently

published videos from U.S.-based IP addresses, but rather has only blocked access to the



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Floatwheel channel landing page (and again, only to U.S. IP addresses). This allows any person,

from any location (i.e., even without using a VPN) to navigate directly to Defendant’s recently

published YouTube videos. Kolitch Decl., ¶ 5, Ex. C. For example, the links below demonstrate

that any person, from any IP address, can navigate to the following videos on the Floatwheel

YouTube channel, which induce infringement of Future Motions patents:

            https://www.youtube.com/watch?v=jeVTHSqb008

            https://www.youtube.com/watch?v=f1nC6JayXS8

         Accordingly, as set forth in more detail below, YouTube has willfully violated, and

continues to violate, at least this Court’s Second Preliminary Injunction Order (ECF No. 27),

justifying a finding of contempt and sanctions.

II.      APPLICABLE LAW

         A district court has the inherent authority to enforce compliance with its orders through a

civil contempt proceeding. Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821,

827–28 (1994). A court may hold in contempt “any person who willfully disobeys a specific and

definite order requiring him to do or to refrain from doing an act.” Shuffler v. Heritage Bank, 720

F.2d 1141, 1146 (9th Cir. 1983) (citations omitted). Civil contempt proceedings serve two

purposes: (1) coercing compliance with a court order, and (2) compensating the complainant for

losses sustained.2 Whittaker Corp. v. Execuair Corp., 953 F.2d 510, 517 (9th Cir. 1992); see also

Ahearn ex. rel. N.L.R.B. v. International Longshore & Warehouse Union, Locals 21 & 4, 721 F.3d

1122, 1128 (9th Cir. 2013) (citing McComb v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949)).




2
    In the present motion, Future Motion seeks only to coerce YouTube’s compliance with the

Court’s orders.


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The determination of contempt sanctions “is within the sole discretion of the court.” Webb v.

Trailer City, Inc., 3:11-cv-00747-BR at 8 (D. Or. May 15, 2017) (citing Britton v. Co-op Banking

Group, 916 F.2d 1405, 1409 n.4 (9th Cir. 1990)).

        To avoid contempt, a person must take “all the reasonable steps within [his or her] power

to insure compliance with” the district court’s order. Stone v. City & Cnty. of San Francisco, 968

F.2d 850, 856 (9th Cir. 1992), as amended on denial of reh’g (Aug. 25, 1992) (citation omitted).

The party moving for contempt has the burden to show by clear and convincing evidence that the

nonmoving party has failed to comply with a specific and definite court order. F.T.C. v. Affordable

Media, 179 F.3d 1228, 1239 (9th Cir. 1999) (citing Stone, 968 F.2d at 856 n.9). The burden then

shifts to the nonmoving party to demonstrate a sufficient reason for noncompliance with the court

order. Id.

        With respect to holding nonparties in contempt, Federal Rule of Civil Procedure 71

provides that “[w]hen an order . . . may be enforced against a nonparty, the procedure for enforcing

the order is the same as for a party.” Accordingly, “when an injunction is addressed to a non-party

and he is given notice of the injunction, Rule 71 permits a district court to use the same processes

for enforcing obedience to the order as if he were a party, such as holding him in contempt for

violating it.” Irwin v. Mascott, 370 F.3d 924, 931 (9th Cir. 2004) (internal quotation marks and

citation omitted). This can include monetary sanctions. See generally id. (affirming contempt

sanctions of $10,000, costs, and attorney fees).

III.    A FINDING OF CONTEMPT AGAINST YOUTUBE IS WARRANTED

        To coerce compliance or to compensate the complainant, the Court may hold a person in

contempt if he has “willfully disobey[ed] a specific and definite order requiring him to do or to

refrain from doing an act.” Shuffler v. Heritage Bank, 720 F.2d 1141, 1146 (9th Cir. 1983)



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(citations omitted). The Court’s orders to YouTube have been specific and definite. In particular,

the Second Preliminary Injunction Order, issued June 20, 2024, requires YouTube to “remove or

disable Defendant’s entire ‘Floatwheel’ YouTube channel at www.youtube.com/floatwheel.” ECF

No. 27, p. 6. There is nothing non-specific or indefinite about this language.

        Specifically, the relevant injunctive language does not permit YouTube merely to disable

access to portions of the Floatwheel YouTube channel from U.S.-based IP addresses, an action so

woefully inadequate that any U.S. consumer can defeat it within a few seconds using a VPN.

Kolitch Decl., ¶ 4, Ex. B. In addition, as demonstrated above, a VPN isn’t even necessary for U.S.

consumers to view Defendant’s more recently published YouTube videos—any person from any

IP address can simply navigate directly to one of those enjoined videos. Id., ¶ 5, Ex. C. Because

Future Motion sent YouTube five separate notice letters and several additional electronic messages

explaining the inadequacy of YouTube’s actions and asking for better compliance with the Court’s

orders, and YouTube has refused to do so, YouTube’s failure to comply with the orders has clearly

been willful. Id., ¶ 3, Ex. A.

III.    SANCTIONS ARE APPROPRIATE
        Civil contempt proceedings can serve two purposes: (1) coercing compliance with a court

order, and (2) compensating the complainant for losses sustained. Whittaker Corp. v. Execuair

Corp., 953 F.2d 510, 517 (9th Cir. 1992). Sanctions designed to coerce are by nature “conditional

sanctions; they operate if and when the person found in contempt violates the order in the future.”

Id. (citation omitted). Factors a court should consider when determining the amount and duration

of a coercive fine include “the character and magnitude of the harm threatened by continued

contumacy, and the probable effectiveness of any suggested sanction in bringing about the result

desired.” United States v. United Mine Workers of America, 330 U.S. 258, 304, (1947); Shuffler v.

Heritage Bank, 720 F.2d 1141, 1148 (9th Cir.1983).

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        In the present case, YouTube’s willful disregard for the Court’s orders, despite receiving

five separate notice letters and several additional electronic communications with copies of the

orders from Future Motion, suggests that sanctions are necessary to coerce YouTube’s compliance.

Furthermore, the character and magnitude of the harm to Future Motion resulting from YouTube’s

failure to act is significant, because Defendant uses YouTube as its primary method for providing

information and instructions to consumers about its infringing products and their methods of

assembly and use. Accordingly, Future Motion requests a conditional sanction of $10,000 per day

for each day YouTube fails to remove or disable the Floatwheel YouTube channel completely,

starting from the date of the Court’s resolution of this Motion.

IV.     CONCLUSION

        For the foregoing reasons, Future Motion respectfully moves the Court as follows:

        (i)     that YouTube be held in contempt for willful failure to comply with this Court’s

specific and definite injunctive orders; and

        (ii)    that the Court levy a conditional sanction of $10,000 per day against YouTube for

each day following the resolution of this motion that YouTube fails to remove or disable the

Floatwheel YouTube channel completely as the Court has ordered.

        Alternatively, Future Motion requests that the Court issue an order requiring YouTube to

show cause as to why it should not be held in contempt and be subject to coercive sanctions for

failing to comply with the Court’s orders.

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DATED: October 17, 2024                  Respectfully submitted,

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